Case 1:22-cv-01237-RGA Document 123-1 Filed 01/13/23 Page 1 of 2 PageID #: 15771




                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

 In re: BOY SCOUTS OF AMERICA
 AND DELAWARE BSA, LLC,                     Chapter 11

                 Debtors.
                                            Bankruptcy Case No. 20-10343 (LSS)
                                            (Jointly Administered)

                                            Case No. 22-cv-01237-RGA

 NATIONAL UNION FIRE
 INSURANCE CO. OF PITTSBURGH,
 PA, et al.,
             Appellants,

                    v.

 BOY SCOUTS OF AMERICA AND
 DELAWARE BSA, LLC,

                Appellees.

           STATEMENT PURSUANT TO LOCAL RULE 7.1.1

       The undersigned hereby certifies that on January 13, 2023, counsel for the

 Certain Insurers and counsel for Appellees, including Delaware counsel for both

 sides, met and conferred via telephone with respect to the motion, and counsel for

 Appellees indicated that they do not consent to the motion.
Case 1:22-cv-01237-RGA Document 123-1 Filed 01/13/23 Page 2 of 2 PageID #: 15772




 Dated:      New York, New York
             January 13, 2023

                                                Respectfully Submitted,

                                                     /s/ Deirdre Richards
  Theodore J. Boutrous Jr. (pro hac vice)           Deirdre M. Richards
  Richard J. Doren (pro hac vice)                   (DE Bar No. 4191)
  Blaine H. Evanson (pro hac vice)                  FINEMAN KREKSTEIN
  GIBSON, DUNN & CRUTCHER LLP                       & HARRIS PC
  333 South Grand Avenue                            1300 N. King Street
  Los Angeles, California 90071                     Wilmington, DE 19801
  tboutrous@gibsondunn.com                          Telephone: (302) 538-8331
  rdoren@gibsondunn.com                             Facsimile: (302) 394-9228
  bevanson@gibsondunn.com                           drichards@finemanlawfirm.com

  Michael A. Rosenthal (pro hac vice)               Susan N.K. Gummow
  Mitchell A. Karlan (pro hac vice)                 (pro hac vice)
  James Hallowell (pro hac vice)                    FORAN GLENNON PALANDECH
  Keith R. Martorana (pro hac vice)                 PONZI & RUDLOFF P.C.
  Seth M. Rokosky (pro hac vice)                    222 N. LaSalle St., Suite 1400
  GIBSON, DUNN & CRUTCHER LLP                       Chicago, Illinois 60601
  200 Park Avenue                                   sgummow@fgppr.com
  New York, New York 10166
  mrosenthal@gibsondunn.com
  mkarlan@gibsondunn.com
  jhallowell@gibsondunn.com
  kmartorana@gibsondun.com
  srokosky@gibsondunn.com

  Counsel for National Union Fire Insurance Company of Pittsburgh, Pa., Lexington
  Insurance Company, Landmark Insurance Company, and the Insurance Company of
  the State of Pennsylvania




                                            2
